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 5
     Attorney for Defendant,
 6   GENARO SANTACRUZ

 7
                               IN THE UNITED STATES DISTRICT COURT
 8                           FOR THE EASTERN DISTRICT OF CALIFORNIA

 9

10   UNITED STATES OF AMERICA,                        CASE NO. 2:13-CR-00286-LKK-3

11              Plaintiff,                            STIPULATION AND ORDER

12        vs.                                         DATE: April 1, 2014
                                                      TIME: 9:15 AM
13   GENARO SANTACRUZ,                                JUDGE: Hon. Lawrence K. Karlton

14              Defendant.

15

16          It is hereby stipulated and agreed to between the United States of America through Todd

17   Pickles, Assistant U.S. Attorney, and defendant Genaro Santacruz, by and through his attorney,

18   Dan Koukol, that the status conference of April 1, 2014 be vacated and that a status conference

19   be set for May 13, 2014 at 9:15 AM.

20          This continuance is being requested because the prosecutor is preparing a revised plea

21   agreement.

22          //

23          //

24          //

25          //
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 1          Counsel agree that the time between the signing of the requested order and May 13, 2014

 2   will be excluded from the speedy trial calculation pursuant to 18 U.S.C. §3161(h)(7)(A) and (B)

 3   (Local Code T4) in that the defendants’ and the public’s interest in a speedy trial are outweighed

 4   by the interests of justice in permitting counsel adequate time to prepare.

 5
     DATED: MARCH 31, 2014                 Respectfully submitted,
 6

 7                                         /s/ DAN KOUKOL
                                           _________________________________
 8                                         DAN KOUKOL
                                           Attorney for defendant Genaro Santacruz
 9

10
     DATED: MARCH 31, 2014                 Respectfully submitted,
11

12                                         /s/ DAN KOUKOL FOR TODD PICKLES
                                           _________________________________
13                                         TODD PICKLES
                                           Assistant U.S. Attorney
14
     IT IS SO ORDERED, that the status conference in the above-entitled matter, scheduled for
15   April 1, 2014, be vacated and the matter continued to May 13, 2014 at 9:15 AM for further status
     conference. The Court finds that time under the Speedy Trial Act shall be excluded through that
16   date in order to afford counsel reasonable time to prepare. Based on the parties’ representations,
     the Court finds that the ends of justice served by granting a continuance outweigh the best
17   interests of the public and the defendants to a speedy trial.

18   DATED: March 31, 2014

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